                      Case 1:21-mj-00293-GMH Document 1 Filed 03/09/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                    United States of America              District of &ROXPELD
                                  v.
                                                                    )
                    Brandon James Miller                            )
                    DOB: XX/XX/XXXX                                 )      Case No.
                                                                    )
                                                                    )
                  Stephanie Danielle Miller                         )
                   DOB: XX/XX/XXXX                                  )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                                  in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
        18 U.S.C. §§ 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                     P. Andrew Gragan, Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                             Digitally signed
                                                                                                          by G. Michael
Date:             03/09/2021                                                                              Harvey
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                       G. Michael Harvey, U.S. Magistrate Judge
                                                                                              Printed name and title
